785 F.2d 316
    McGruderv.People of State of Cal.
    84-2247
    United States Court of Appeals Ninth Circuit
    1/24/86
    
      1
      N.D.Cal.
    
    AFFIRMED
    
      2
      (The decision of the Court is referenced in a 'Table of Decisions Without Reported Opinions' appearing in the Federal Reporter. The Eleventh Circuit provides by rule that unpublished opinions are not considered binding precedent.  They may be cited as persuasive authority, provided that a copy of the unpublished opinion is attached to or incorporated within the brief, petition or motion.  Eleventh Circuit Rules, Rule 36-2, 28 U.S.C.A.)
    
    